         Case 2:04-cr-00104-JAM-CMK Document 100 Filed 10/11/05 Page 1 of 3


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 7                    IN THE UNITED STATES DISTRICT COURT

 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,     )         2:04-CR-0104 DFL
                                   )
11             Plaintiff,          )         [proposed] PRELIMINARY ORDER
                                   )         OF FORFEITURE AND PUBLICATION
12        v.                       )         THEREOF
                                   )
13   ROBERTO ORANTES,              )
          aka Raphael Sanchez,     )
14        Arreguin, aka "Mario";   )
                                   )
15             Defendant.          )
     ______________________________)
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17        Based upon the plea agreement entered into between plaintiff

18   United States of America and defendant Roberto Orantes, it is

19   hereby

20        ORDERED, ADJUDGED AND DECREED as follows:

21        1.   Pursuant to 21 U.S.C. § 853(a), defendant Roberto

22   Orantes' interest in the following property shall be condemned

23   and forfeited to the United States of America, to be disposed of

24   according to law:

25             a).    Approximately $82,827.00 in U.S.
                      Currency seized on or about March 8,
26                    2004; and

27             b).    Approximately $2,657.00 in U.S. Currency
                      seized on or about March 8, 2004.
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         Case 2:04-cr-00104-JAM-CMK Document 100 Filed 10/11/05 Page 2 of 3


 1        2.     The above-listed property constitutes or is derived from

 2   gross proceeds traceable to the commission of a violation of 21

 3   U.S.C. §§ 841(a)(1) and 846.

 4        3.     Pursuant to Rule 32.2(b), the Attorney General (or a

 5   designee) shall be authorized to seize the above-described

 6   property.     That the aforementioned property shall be seized and

 7   held by the United States Marshals Service, in its secure custody

 8   and control.

 9        4.     a.   Pursuant 21 U.S.C. § 853(n) and Local Rule 83-171,

10   the United States forthwith shall publish at least once for three

11   successive weeks in the Daily Recorder (Sacramento County), a

12   newspaper of general circulation located in the county in which

13   the above-described property was seized, notice of this Order,

14   notice of the Attorney General’s intent to dispose of the

15   property in such manner as the Attorney General may direct, and

16   notice that any person, other than the defendant, having or

17   claiming a legal interest in the above-listed forfeited property

18   must file a petition with the Court within thirty (30) days of

19   the final publication of the notice or of receipt of actual

20   notice, whichever is earlier.

21               b.   This notice shall state that the petition shall be

22   for a hearing to adjudicate the validity of the petitioner's

23   alleged interest in the property, shall be signed by the

24   petitioner under penalty of perjury, and shall set forth the

25   nature and extent of the petitioner's right, title or interest in

26   the forfeited property and any additional facts supporting the

27   petitioner's claim and the relief sought.

28               c.   The United States may also, to the extent

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         Case 2:04-cr-00104-JAM-CMK Document 100 Filed 10/11/05 Page 3 of 3


 1   practicable, provide direct written notice to any person known to

 2   have alleged an interest in the property that is the subject of

 3   the Order of Forfeiture, as a substitute for published notice as

 4   to those persons so notified.

 5        5.   If a petition is timely filed, upon adjudication of all

 6   third-party interests, if any, this Court will enter a Final

 7   Order of Forfeiture pursuant to 21 U.S.C. § 853(a), in which all

 8   interests will be addressed.

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10   SO ORDERED this 7 day of October, 2005.

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                                             DAVID F. LEVI
14                                           United States District Judge

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